                                     Case
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                            1     SUBMITTING COUNSEL ON SIGNATURE PAGE
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                                                                  UNITED STATES DISTRICT COURT
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                                                             NORTHERN DISTRICT OF CALIFORNIA
                         10
                                  TOKUYAMA CORPORATION,                                Case No. C 08-02781 SBA
                         11
                                                     Plaintiff,                                        XXXXXXX ORDER
                                                                                       STIPULATION AND PROPOSED
                         12                                                            FOR DISMISSAL WITH PREJUDICE
                                         vs.
                         13                                                            The Honorable Saundra Brown Armstrong
                                  VISION DYNAMICS, LLC,
                         14
                                                     Defendant.
                         15

                         16       VISION DYNAMICS, LLC,
                         17                      Counterclaimant,
                         18              vs.
                         19       TOKUYAMA CORPORATION,
                         20                      Counterclaim Defendant.
                         21

                         22              Pursuant to a Settlement Agreement dated as of March 20, 2009, Plaintiff and

                         23       Counterclaim Defendant TOKUYAMA CORPORATION (“Tokuyama”) and Defendant and

                         24       Counterclaimant VISION DYNAMICS, LLC (“Vision”) have resolved their respective claims

                         25       and counterclaims. Now, in accordance with the Settlement Agreement, and pursuant to Rules

                         26       41(a)(2) and 41(c) of the Federal Rules of Civil Procedure, Tokuyama and Vision hereby stipulate

                         27       that this action and all claims and counterclaims shall be dismissed with prejudice and that each

                         28       party shall bear its own attorneys fees and costs.
 SQUIRE, SANDERS &
   DEMPSEY L.L.P.                                           STIPULATION FOR DISMISSAL WITH PREJUDICE
 One Maritime Plaza, Suite 300                                        Case No. C 08-02781 SBA
San Francisco, California 94111
                                     Case
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                                  Dated: March 31, 2009                  SQUIRE, SANDERS & DEMPSEY L.L.P.
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                                                                         By:                      /s/
                            4                                                                Nathan Lane III
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                         10                                              Facsimile: +1.415.393.9887
                         11                                              Attorneys for Plaintiff and Counterclaim Defendant
                                                                         TOKUYAMA CORPORATION
                         12

                         13
                                  Dated: March 31, 2009                  MEYERTONS, HOOD, KIVLIN, KOWERT &
                         14                                              GOETZEL, P.C.
                         15

                         16                                              By:                    /s/
                         17                                                                 Ryan T. Beard

                         18                                              Ryan T. Beard
                                                                         Eric B. Meyertons
                         19                                              Meyertons, Hood, Kivlin, Kowert & Goetzel, P.C.
                                                                         700 Lavaca, Suite 800
                         20                                              Austin, Texas 78701
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                         21                                              Facsimile: (512) 853-8801
                                                                         Email: rbeard@intprop.com
                         22                                              Attorneys for Defendant and Counterclaimant
                                                                         VISION DYNAMICS, LLC
                         23

                         24       PURSUANT TO STIPULATION, IT IS SO ORDERED.
                         25

                         26
                                       4/1/09
                                  Date:_____________                      ______________________________
                         27                                                     Sandra Brown Armstrong
                                                                                United States District Judge
                         28
 SQUIRE, SANDERS &
   DEMPSEY L.L.P.                                         STIPULATION FOR DISMISSAL WITH PREJUDICE
 One Maritime Plaza, Suite 300                                      Case No. C 08-02781 SBA
San Francisco, California 94111
